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                                  EHXIBITS
Case 3:15-cv-01743-MAS-TJB Document 78-3 Filed 02/22/18 Page 2 of 5 PageID: 894



 SHAMSIDDIN ABDUR-RAHEEM
 787151C/789072.
 New Jersey State Prison
 PO Box 861
 Trenton, NJ 08&25
                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
 SHAMSIDDIN ABDUR-RAHEEM,                                      CIVIL ACTION' NO.:
                                                               3:15-CV-01743-MAS-TJB
                         Plalntiff,

 v.                                                                  NOTICE OF APPEAL
 NEW JERSEY DEPARTMENT OF
 CORRECTIONS, et al.,

                         Defendants.

 TO: Office of th~ Attorney General
     Division of Law
     25 Market Street
     PO Box 112
     Trenton,.NJ 08625
     Counsel for Defendant - Via ECF .

         PLEASE TAKE NOTICE THAT the Plaintiff in the above-captioned

 matter    .ap;:>eals    to     the    Third Circuit Court of Appeals                      from the
 United      States     District           Court,     District       of   New    Jersey's,      final

 orders      en 't. ere d on    March        2,     201 7 ,    and   de r: yin g rec on s i de rat i o'n

 of   same     on   November          7,     2017,      dismissing        with    prejudice       from

·Plaintiff's        complaint          his        Eight       Amendment     assault      claims      as

 time-bar.red.



                                                               Respe~tfully      submitted,




                                                               By:   Shamsiddin Abdur-Raheem
 Date:
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    SHAMSIDDIN ABDUR-RAHEEM
    787151C/789072
    New Jersey State Prison
    PO Box 861
    Trenton, NJ Q8625
                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

    SHAMSIDDIN ABDUR-RAHEEM,                        CIVIL ACTION NO.:
                                                    3:15-CV-01743-MAS-TJB
                         Plaintiff,
I
    v.                                                 NOTICE OF MOTION TO
                                                     APPEAL IN FORMA PAUPERIS
    NEW JERSEY DEPARTMENT OF
    CORRECTIONS, et al.,

                         Defendants.


    TO: Office of the Attorney General
        Division of Law
        25 Market St.
        PO Box 112
        Trenton, NJ 08625
        Counsel for Defendants - Via ECF
            P~EASE   TAKE NOTICE THAT the Plaintiff in the            above~captioned

    matter    hereby    moves· before       the   United   States     District Court,
    District    of    New   Jersey, . for    an   order    granting     pe.rmi.~sion   to

    proceed on appeal as in forma pauperis.                 We shall rely upon the
    accompanying Certification submitted herewith.

                                                   , Respectfully     submitt~d,




                                                    By:_   Sha~siddin   Abdur-Raheem
    Date:
Case 3:15-cv-01743-MAS-TJB Document 78-3 Filed 02/22/18 Page 4 of 5 PageID: 896



SHAMSIDbIN ABDUR-RAHEEM
787151C/789072                         .
New Jersey State Prison
PO Box 861         .
Treriton, NJ 08625

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

SHAMSIDDIN ABDUR-RAHEEM,                                          CIVIL ACTION NO.:
                                                                  3:15-CV-01743-MAS-TJB
                               Plaintiff,
Vo                                                                 CERTIFICATION SUPPORTING
                                                                         MOTION TO
                                                                   APPEAL IN FORMA PAUPERIS
NEW JERSEY DEPARTMENT OF
CORRECTIONS, et alo,

                               Def·endants.

        I, Sharnsiddin Abdur-Raheem,. of full                            ag~,    hereby certify:

        1.      I    am    the     Plaintiff          ln    the    abova-ca.p.tioned        matter     who

moves t6 proceed in f otrna pauper is on app ea 1 t'o the Third Circuit

from     th.e       final       decision     of       the      United     States    District       Court,

District of N·ew Je'rsey,                  entered .on March               20,     2917, and denying

r econsideration on November. 7, 2018, which I. received the opinion
 1




of on January 18, 2018.

        2.      I   .gm    a     prisoner        in    th.e.    custody     of    the    St.ate   of   New

Jersey,. presently                 incarcerated                at. New     Jersey       State     Prison,
Trenton, New          J~rsey.

        3.      I   own     no    stocks, .bonds,               automobiles,       real    property or

negotiable assets.

        411     I    do    not     possess        sufficient         funds . for        appeal     filing

fees.
        s.      There       has    been     no    substantial            change     i'n my financi'al.

status        ~ince       I was permitted to proceed as indigent upon filing

my complaint in the district court.
    Case 3:15-cv-01743-MAS-TJB Document 78-3 Filed 02/22/18 Page 5 of 5 PageID: 897

'
         · 6.        I    currently    have    an   account    balance      of   approximately

    $27 in my            inm~te   account.
            7.       Th,erefore, · I     request    that    this   Court.    issue     an    order

    granting me permission to proceed as indigent on appeal.

            I       ·;;:>ertify   that· the   foregoing     statements      ma di'~   by    me   are

    true.       I     am aware      that if any _of the       foregoing      stateme.nts made

    by me are willfully              f~lse,   I am subject to punishment.


                                                           Respectfully submitted,




                                                           By: Shamsiddin Abdur-Raheem
    Date:




                           \
